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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

RODERICK TALLEY                                                                        PLAINTIFF

V.                                     CASE NO. 4:17-CV-00802-JLH

CITY OF LITTLE ROCK; CHIEF KENTON
BUCKNER, in his Official capacity as an employee
of the Little Rock Police Department
MARK ISON, individually and in his
Official capacity as an employee of the
Little Rock Police Department; ROB BELL,
individually and in his Official Capacity as
an employee of the Little Rock Police Department;
LONI LICHTI, individually and in his Official
Capacity as an employee of the Little Rock
Police Department; GLADINA HARRIS,
individually and in her Official capacity as an
employee of the Little Rock Police Department                                       DEFENDANTS

                                       PROTECTIVE ORDER

       This Protective Order governs the parties to this action and their lawyers, as follows:

       1.       All documents, information, copies, transcriptions, or other reproductions of

documents or information (hereinafter "Information") produced in this action that contain, describe,

identify, or refer to information the confidentiality or privacy of which is protected by statute may

be stamped "CONFIDENTIAL" by the producing party and, if so stamped, will be subject to the

provisions of this Protective Order.

       2.       A lawyer who wishes to challenge the "CONFIDENTIAL" designation made by the

producing party of any Information must first attempt in good faith to confer with lawyers for the

producing party in an effort to resolve the issue amicably. If agreement cannot be reached, the

challenging party may file a motion asking the Court to remove the designation. The motion should

describe with specificity the particular Information for which the designation is being challenged

and set forth with specificity why the Information is not properly designated as "CONFIDENTIAL."
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The party seeking to maintain Information as "CONFIDENTIAL" generally will bear the burden

of proving that the designation is proper. Information designated as "CONFIDENTIAL" will

continue to be treated as such and subject to the provisions of this Protective Order pending

determination by the Court of the merits of any such challenge. Failure to challenge the

"CONFIDENTIAL" designation within a reasonable time may result in summary dismissal of the

challenge.

       3.        Information designated as "CONFIDENTIAL" may be used only for this action and

for no other action or purpose. Information designated as "CONFIDENTIAL" may not, without

leave of this Court, be disclosed to any person or entity other than this Court (under seal) except as

stated in this Protective Order.

       4.        The disclosure by a lawyer oflnformation designated as "CONFIDENTIAL" to that

lawyer's client, to paralegals and clerical staff employed by that lawyer's office, or to experts

retained by that lawyer, will not constitute a violation of or a waiver of the protections afforded by

this Protective Order so long as the person to whom disclosure is made has executed an Affidavit

in the form attached hereto as Exhibit A. A lawyer who discloses Information designated as

"CONFIDENTIAL" pursuant to this paragraph must maintain each Affidavit executed by persons

to whom that lawyer has disclosed Information designated as "CONFIDENTIAL."

        5.       If Information designated as "CONFIDENTIAL" is to be identified, discussed, or

disclosed during a deposition taken in this action of any person or entity other than those persons

or entities described in paragraphs 3 and 4 above, the deponent must be required to acknowledge

on the record, before any identification, discussion or disclosure of Information occurs, that he or

she has been advised of and has agreed to be bound by the terms of this Protective Order.
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        6.       A party may designate as "CONFIDENTIAL" portions of any deposition transcript

wherein Information designated as "CONFIDENTIAL" is identified, discussed, or disclosed.

Portions of a deposition transcript so designated will be subject to the terms of this Protective Order.

The designation must be made on the record during the deposition or by letter sent by facsimile or

electronic mail to opposing counsel within five business days after receipt of the transcript. The

portions of a deposition transcript that mention or discuss Information designated as

"CONFIDENTIAL" must be treated as "CONFIDENTIAL" and therefore subject to this Protective

Order until 5:00 p.m. Central Time on the fifth business day after receipt of the transcript. All

portions of the deposition transcript not designated as "CONFIDENTIAL" by 5:00 p.m. Central

Time on the fifth business day after receipt of the transcript are excluded from the protections of this

Protective Order.

        7.       If, during the course of pre-trial or trial proceedings, a lawyer for a party intends to

identify, discuss, or disclose Information produced by the opposing party and designated as

"CONFIDENTIAL," that lawyer must give prior notice to opposing counsel so that the producing

party may seek appropriate protection.

        8.       Iflnformation designated as "CONFIDENTIAL" is filed with the Clerk of this Court,

it must be filed in a sealed envelope in compliance with Section IV.B of this Court' s CM/ECF

Administrative Policies and Procedures Manual for Civil Filings. The sealed envelope also must

contain the following statement:

        CONFIDENTIAL: THE CONTENTS OF THIS ENVELOPE ARE NOT TO BE
        SCANNED AND ARE SUBJECT TO A PROTECTIVE ORDER OF THIS COURT
        AND SHALL NOT BE SHOWN TO ANY PERSONS OTHER THAN AruDGE
        OF THIS COURT OR AN ATTORNEY IN THIS CASE.
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       9.       No lawyer for a party may comment in the presence of the jury on the reasons or

motivation for designating Information as "CONFIDENTIAL" without first having obtained

permission of the Court to do so.

       10.      This Protective Order will be binding until this action is finally concluded and

thereafter for so long as the confidentiality or privacy of Information designated as

"CONFIDENTIAL" would be protected by statute.

       11.      Within sixty (60) days after final adjudication of this action, all Information

designated as "CONFIDENTIAL" by the producing party must be destroyed or returned. Upon

request by the producing party, a party must verify that all such items have been destroyed or

returned to the producing party. The verification must be made by Affidavit in the form of Exhibit B

to this Protective Order.

        12.     Nothing in this Protective Order will preclude a party from seeking additional

protection for Information designated as "CONFIDENTIAL" or from otherwise seeking a

modification of this Protective Order.

        13.     Nothing in this Protective Order will prevent this Court from disclosing any facts

relied upon by it in making or rendering any finding, ruling, order, judgment or decree of whatever

description.

         IT IS SO ORDERED this\'11'- day of January, 2019£ -           ~ ~
                                                      J. LEON OLMES
                                                      UNITED STATES DISTRICT ruDGE
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                                           EXHIBIT A

                    AFFIDAVIT OF
                                       ---------------
STATE OF_ _ _ _ _ _ _- /
                        ) ss:
COUNTY OF_ _ _ _ _ __,

       Before me, the undersigned Notary Public, in and for said County and State, personally

appeared ___________ , who after first being duly sworn, states as follows:

       1.       My name is _____________ . I am over the age of 18 years and am

a resident of _ _ _ _ _ _ _ _ _ County,                                  . I make this Affidavit based

upon my personal know ledge, and I am competent to testify to the matters stated herein.

       2.       I am aware that a Protective Order has been entered in Roderick Talley v. City      of

Little Rock et al., Case No. 4:17-CV-00802-JLH, which is pending in the United States District

Court for the Eastern District of Arkansas, Western Division. A copy of that Protective Order has

been shown to me, and I have read and understand its contents.

       3.       By signing this Affidavit, I promise that I will use the Information designated

"CONFIDENTIAL" pursuant to the above-described Protective Order for the purpose of assisting

counsel for a party to the above-described civil action in the adjudication of -~hat action, or for the

purpose of preparing testimony for that action, and for no other purpose.:        ,, -·~ •

       4.       By signing this Affidavit, I also promise that I will not communicate, disclose,

discuss, identify, or otherwise use Information designated "CONFIDENTIAL" pursuant to the

above-described Protective Order with, to, or for any person or entity other than the Court, a party

to the above-described civil action, counsel for a party to the above-described civil action, including

other counsel, paralegals, and clerical staff employed in his or her office, persons permitted by the

above-described Protective Order to attend depositions taken in the above-described civil action, and
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persons or entities assisting such counsel who have executed an affidavit in the same form as this

Affidavit.

       5.        By signing this Affidavit, I also promise that I will not copy, transcribe, or otherwise

reproduce, or cause to be copied, transcribed, or otherwise reproduced, by any means whatsoever,

any Information designated "CONFIDENTIAL" pursuant to the above-described Protective Order

except to the extent to which I am directed to do so by counsel for a party to the above-described

civil action, in which case all such copies, transcriptions, or reproductions shall be made solely for

my own use in connection with my work in the above matter. I further promise at the conclusion

of this case to deliver upon request all Information (originals and copies) designated

"CONFIDENTIAL" to the counsel who originally directed that Information be provided to me.

        6.       I understand that, by signing this agreement, I am agreeing to subject myself to the

jurisdiction of this Court.

        7.       I   understand   that   any   use    or    distribution   of Information    designated

"CONFIDENTIAL" pursuant to the above-described Protective Order in any manner contrary to the

provisions of the Protective Order will subject me, among other things, to the sanctions of this Court

for contempt.

        FURTHER AFFIANT SAYETH NOT.


                                                           Signature of Affiant

Subscribed and sworn to before me,
this _ _ day of _ _ _ _ _ __


Notary Public
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                                          EXHIBITB

                    AFFIDAVIT OF
                                     --------------
STATE OF__________,
                          ) ss:
COUNTY OF- - - - - - - - ~

       Before me, the undersigned Notary Public, in and for said County and State, personally

appeared _ _ _ _ _ _ _ _ _ _ _ _ , Esq., who after first being duly sworn, states as

follows:

       1.       My name is _ _ _ _ _ _ _ _ _ _ . I am an attorney with the law firm

of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ .. I make this Affidavit based upon my

personal knowledge, and I am competent to testify to the matters stated herein.

       2.       All Information designated as "CONFIDENTIAL" by the opposing party m

Roderick Talley v. City of Little Rock et al., Case No. 4: 17-CV-00802-JLH, has been destroyed

or returned to the opposing party as required by the Protective Order in that case.

       FURTHER AFFIANT SAYETH NOT.


                                                     Signature of Affiant

Subscribed and sworn to before me,
this _ _ day of _ _ _ _ _ __


Notary Public
